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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                                  )   CASE NO. 1:17-MD-2804
                                                  )
                                                  )   JUDGE DAN A. POLSTER
 IN RE: NATIONAL PRESCRIPTION                     )
 OPIATE LITIGATION                                )   SPECIAL MASTER DAVID COHEN
                                                  )
                                                  )   MOTION TO DE-DESIGNATE
                                                  )   SUSPICIOUS ORDER REPORTS
                                                  )
                                                  )   FILED ON BEHALF OF THE W.P.
                                                  )   COMPANY, LLC, dba THE
                                                  )   WASHINGTON POST and
                                                  )   HD MEDIA COMPANY, LLC, dba
                                                  )   THE CHARLESTON GAZETTE-MAIL
                                                  )
                                                  )




       Now come The W.P. Company, LLC, dba The Washington Post, and HD Media

Company, LLC, dba Charleston Gazette-Mail, (“Media Intervenors”) by and through undersigned

counsel, and hereby submit their Motion to De-Designate the Suspicious Order Reports that have

been provided to Plaintiffs in this case.




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           In response to the Sixth Circuit Court of Appeals Opinion filed on June 20, 2019,1 and

subsequent pleadings, this Court asked the Drug Enforcement Administration (DEA), Plaintiffs,

Defendants, and the Media Intervenors to meet and confer toward a modified Protective Order to

govern the release of the ARCOS Data from 2013-2014 and the Suspicious Order Reports (R.

1845).2 While the parties did not reach full agreement during the meet and confer sessions, the

DEA and the Media Intervenors did agree to De-Designate DEA Suspicious Order Reports, and

the DEA reduced that agreement to writing, filing it as a Proposed Agreed Order on July 26, 2019

(R. 2040-2).

           Certain Defendants3 objected to the Proposed Order De-Designating DEA Suspicious

Order Reports and the Media Intervenors’ Position Paper (R. 2080, page ID #286624), citing two

reasons. The first, that the Court lacked jurisdiction to address the issue until the Sixth Circuit

mandate issues, is now moot, as the mandate issued on September 6, 2019 (R. 2581). The second,

that the materials “do not constitute ‘judicial records’ to which the Media Intervenors have any

possible right of access,” discounts the Sixth Circuit’s determination that there was no “good

cause” for a Protective Order to withhold them. In fact, absent good cause for a Protective Order,

they became public records when provided to the public entities that are Plaintiffs in this case.



1
    In re Nat’l Prescrip. Opiate Litig., 927 F.3d 919 (6th Cir. 2019).
2
 The 2013-2014 ARCOS Data was released on January 14, 2020 (R. 2030). The Order
clarifying the filing of sealed/redacted documents was issued on November 5, 2019 (R. 2909).
The SORs are the only remaining documents being sought by Media Intervenors at this time in
this litigation.
3
 AmerisourceBergen Drug Corporation; Anda, Inc.; Cardinal Health, Inc.; Discount Drug Mart,
Inc.; CVS Rx Services, Inc. and CVS Indiana, LLC; HBC Service Company; H.D. Smith LLC,
fka H.D. Smith Wholesale Drug Company, H.D. Smith Holdings, LLC, and H.D. Smith Holding
Company; Henry Schein, Inc. and Henry Schein Medical Systems, Inc.; McKesson Corporation;
Rite Aid of Maryland, Inc. dba Rite Aid Mid-Atlantic Customer Support Center; Walgreen Co.
and Walgreen Eastern Co.; Walmart, Inc., and Prescription Supply Inc.
                                                     2
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       Nine months later, nothing has changed. Therefore, the Media Intervenors respectfully

request that this Court expeditiously grant the Proposed Order De-Designating DEA Suspicious

Order Reports (R. 2040-2).



                                          Respectfully submitted,

                                          THE LEFTON GROUP, LLC

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                                     CERTIFICATE OF SERVICE

       I certify that on April 28, 2020, a copy of the foregoing was electronically filed and served

on all counsel of record for this case through the Court’s electronic filing system.


                                      /s/ Karen C. Lefton
                                      KAREN C. LEFTON (0024522)
                                      An Attorney for The W.P. Company, LLC




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